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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GREGORY KANOWICZ,                              No. 4:20-CV-00584

            Plaintiff,                         (Judge Brann)

      v.

THE UNITED STATES OF
AMERICA,

           Defendant.

                                  ORDER

     AND NOW, this 5th day of November 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.    Defendant’s Motion to Dismiss, Doc. 7 is GRANTED.

     2.    The case is DISMISSED and the Clerk of Court is directed to close

           the case file.



                                         BY THE COURT:


                                         s/ Matthew W. Brann
                                         Matthew W. Brann
                                         United States District Judge
